






NO. 07-04-0458-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



DECEMBER 15, 2005



______________________________




ROBERT W. PAIGE, M. D., APPELLANT



V.



DUDLEY R. STANLEY AND FLAGSHIP FINANCIAL, APPELLEES




_________________________________



FROM THE 47TH DISTRICT COURT OF RANDALL COUNTY;



NO. 47,937-A; HONORABLE RICHARD DAMBOLD, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and HANCOCK, JJ.

MEMORANDUM OPINION


	By order of February 3, 2005, this appeal was abated pursuant to a notice of
bankruptcy filed by Kent Ries, trustee for appellant Robert W. Paige, M.D.  Pending before
this Court is the trustee's motion to reinstate the appeal and motion to dismiss the appeal
with prejudice.  Pursuant to Rule 8.3 of the Texas Rules of Appellate Procedure, we
reinstate the appeal and pursuant to Rule 42.1(a), grant the motion to dismiss. 

	Accompanying Paige's motion to dismiss this appeal is (1) the bankruptcy court's
order granting a motion to compromise the claims of appellees Dudley R. Stanley and
Flagship Financial Corporation, and (2) an exhibit reflecting the debtor's discharge as of
November 9, 2005. 

	Accordingly, this appeal is dismissed with prejudice.  Having dismissed the appeal
at the request of Kent Ries, trustee for appellant Robert W. Paige, M.D., no motion for
rehearing will be entertained and our mandate will issue forthwith.

						Don H. Reavis

						    Justice



